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                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
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                                                Filed: August 17, 2020




Mr. Steve Bernard Bogard
Chippewa Correctional Facility
4269 W. M-80
Kincheloe, MI 49784

                     Re: Case No. 20-1387, Steve Bogard v. Connie Horton
                         Originating Case No. : 2:20-cv-00016

Dear Mr. Bogard,

  The Court issued the enclosed Order today in this case.

                                                Sincerely yours,

                                                s/Sharday S. Swain
                                                Case Manager
                                                Direct Dial No. 513-564-7027

cc: Mr. Thomas Dorwin

Enclosure

No mandate to issue
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                                            No. 20-1387
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                            UNITED STATES COURT OF APPEALS                     $XJ
                                 FOR THE SIXTH CIRCUIT                    '(%25$+6+817&OHUN


STEVE BERNARD BOGARD,                                     )
                                                          )
       Petitioner-Appellant,                              )
                                                          )
v.                                                        )        ORDER
                                                          )
CONNIE HORTON, Warden,                                    )
                                                          )
       Respondent-Appellee.                               )



       Before: MURPHY, Circuit Judge.


       Steve Bernard Bogard, a Michigan prisoner proceeding pro se, appeals the district court’s
judgment dismissing his petition for a writ of habeas corpus under 28 U.S.C. § 2254.
       A jury convicted Bogard of possession with intent to deliver less than fifty grams of
cocaine, in violation of Michigan Compiled Laws § 333.7401(2)(a)(iv); being a felon in possession
of a firearm, in violation of Michigan Compiled Laws § 750.224f; assault with a dangerous
weapon, in violation of Michigan Compiled Laws § 750.82; and possession of a firearm during
the commission of a felony, in violation of Michigan Compiled Laws § 750.227b. People v.
Bogard, No. 338012, 2018 WL 1936044, at *1 (Mich. Ct. App. Apr. 24, 2018) (per curiam). At
trial, the State presented evidence of the following facts:
       On September 20, 2016, Siad Brown called the police to report that someone had
       shot at him. When the police arrived, he emerged from a hiding place in some
       bushes and consented to the police searching his residence. The police knocked on
       the door, announced themselves, and entered. Inside, Bogard walked toward them
       from an area that another witness testified was near the basement. Bogard was
       searched. Although he was unarmed and had no drug paraphernalia on his person,
       he was carrying $1,660 in cash. The police searched the basement of the house and
       discovered 1.66 grams of cocaine and a loaded gun on some ductwork. They also
       searched Bogard’s vehicle and discovered a digital scale and sandwich bags with
       the corner pieces torn out.
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Id. In addition to this evidence, the State read to the jury Brown’s preliminary-examination
testimony, during which Brown stated that he ran away after Bogard pointed a gun at him and that
he thought he heard gunshots while he was running. Brown’s girlfriend at the time “also testified
that Bogard showed Brown the gun and pointed it at him.” The State’s theory of the case was that
Bogard had “stashed both the drugs and the gun [in the basement of the home] after shooting at
Brown but before the police arrived.” But Bogard testified that he never went into the basement,
that he possessed a large quantity of cash for his mother’s mortgage and his car insurance, and that
other individuals had used his car. Id.
       The trial court sentenced Bogard as a fourth habitual offender to two to forty years of
imprisonment for the cocaine possession, eight to sixty years of imprisonment for being a felon in
possession of a firearm, two to fifteen years for assault with a dangerous weapon, and a consecutive
two-year term of imprisonment for possessing a firearm during the commission of a felony. Id.
The Michigan Court of Appeals affirmed Bogard’s convictions and sentences, and the Michigan
Supreme Court denied leave to appeal. Id. at *1, *5; People v. Bogard, 919 N.W.2d 789 (Mich.
2018) (mem.).
       Following his direct appeal, Bogard filed a § 2254 petition raising the following grounds
for relief: (1) he was deprived of his right to confront adverse witnesses when the State read
Brown’s preliminary-examination testimony at trial; (2) the prosecutor committed misconduct by
making improper remarks during closing argument; (3) there was insufficient evidence to support
his conviction for possessing with intent to deliver cocaine; (4) his minimum term of imprisonment
for being a felon in possession of a firearm is unreasonable and disproportionate; and (5) his trial
counsel performed ineffectively. Bogard subsequently moved to stay his case and hold it in
abeyance so that he could return to state court and exhaust an additional ineffective-assistance
claim based on counsel’s failure to call a favorable witness.
       The district court dismissed Bogard’s petition. It held that his challenge to the use of
Brown’s preliminary-hearing testimony was not cognizable under state evidentiary law and
meritless under the Confrontation Clause. It next rejected Bogard’s prosecutorial-misconduct and
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sufficiency-of-the-evidence challenges on the merits. It then concluded that Bogard’s sentencing
challenge was not cognizable under state law and meritless as an Eighth Amendment or due-
process claim. And it found that Bogard’s ineffective-assistance claims were either procedurally
defaulted or meritless. Finally, it denied Bogard’s motion to stay his case because even if Bogard
exhausted his proposed claim, it would be time-barred. Alternatively, it found that Bogard failed
to show good cause for his failure to exhaust.
        The district court declined to issue a COA, and Bogard now seeks one from this Court. A
COA may issue “only if the applicant has made a substantial showing of the denial of a
constitutional right.” 28 U.S.C. § 2253(c)(2). A petitioner may meet this standard by showing
that reasonable jurists could debate whether the petition should have been determined in a different
manner or that the issues presented were “adequate to deserve encouragement to proceed further.”
Slack v. McDaniel, 529 U.S. 473, 484 (2000) (quoting Barefoot v. Estelle, 463 U.S. 880, 893 n.4
(1983)). If the petition was denied on procedural-default grounds, the petitioner must show “at
least, that jurists of reason would find it debatable whether the petition states a valid claim of the
denial of a constitutional right and that jurists of reason would find it debatable whether the district
court was correct in its procedural ruling.” Id.
        Because Bogard challenges his state-court convictions, he must satisfy the deferential
standards of review in 28 U.S.C. § 2254(d) for those claims that the Michigan courts decided on
their merits. Section 2254(d) requires a state court’s resolution of a claim to be “so lacking in
justification that there was an error well understood and comprehended in existing law beyond any
possibility for fairminded disagreement.” Harrington v. Richter, 562 U.S. 86, 103 (2011). Here,
all reasonable jurists would agree with the district court’s conclusion that Bogard could not meet
this demanding standard for any of his claims. Bogard thus is not entitled to a COA on his claims.
        I.      Ground 1 — Confrontation Clause
        In ground one, Bogard argued that the trial court violated state evidentiary rules and that
he was deprived of his right to confront an adverse witness when the prosecutor read to the jury
Brown’s preliminary-examination testimony. To the extent Bogard challenges the state court’s
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alleged violation of state evidentiary rules, it is black-letter law that his claim is not cognizable
under § 2254. Estelle v. McGuire, 502 U.S. 62, 67-68 (1991).
       To the extent that Bogard asserts a Confrontation Clause claim under the Sixth
Amendment, he cannot show that the Michigan courts’ rejection of that claim was so unreasonable
as to allow for relief under § 2254(d). The Confrontation Clause prohibits the prosecution from
substituting former testimony for live testimony unless the prosecution demonstrates that the
witness is unavailable for trial and that the defendant had a prior opportunity for cross-
examination. Crawford v. Washington, 541 U.S. 36, 53-54 (2004). Bogard did not dispute that he
was permitted to cross-examine Brown at the preliminary examination, nor did he allege that his
opportunity to cross-examine Brown at the preliminary examination was insufficient. Thus, the
relevant question was whether Brown was unavailable. A witness is unavailable for purposes of
the Confrontation Clause if “the prosecutorial authorities have made a good-faith effort to obtain
his presence at trial.” Hardy v. Cross, 565 U.S. 65, 69 (2011) (per curiam) (quoting Barber v.
Page, 390 U.S. 719, 724-25 (1968)).
       The Michigan Court of Appeals found—and Bogard does not dispute—that Brown was
cooperative at the preliminary examination and gave no indication that he did not intend to appear
at Bogard’s trial; that a process server attempted to serve Brown multiple times at his last known
address; that an officer contacted Brown’s ex-girlfriend, who told the officer that she did not know
where Brown was; that Brown did not provide a forwarding address when he was released from
probation; that Brown’s phone number did not work; and that a search of LEIN turned up no leads.
See Bogard, 2018 WL 1936044, at *2. Although Brown’s ex-girlfriend testified at trial that she
spoke with Brown daily and that he was in Atlanta, Georgia, she admitted that she had not
disclosed this information to police. Id. “And, more to the point, the deferential standard of review
set out in 28 U.S.C. § 2254(d) does not permit a federal court to overturn a state court’s decision
on the question of unavailability merely because the federal court identifies additional steps that
might have been taken.” Hardy, 565 U.S. at 72. In light of these facts, reasonable jurists could
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not debate the district court’s conclusion that the Michigan Court of Appeals reasonably found that
the State made a good-faith effort to secure Brown’s presence at trial.
       II.     Ground 2 — Prosecutorial Misconduct
       In ground two, Bogard argued that the prosecutor improperly shifted the burden of proof
to him when he stated during closing arguments that Bogard must have stashed the firearm and
cocaine in the basement because “[there is] zero evidence that anybody else put it there.” Bogard,
2018 WL 1936044, at *2.       Bogard argued that this statement “implied that [he] had some
obligation to come forth with evidence that someone else could have planted the drugs and the
gun.” He again cannot satisfy § 2254(d)’s demanding standards. See Parker v. Matthews, 567
U.S. 37, 48-49 (2012) (per curiam).
       A federal court may grant relief on a prosecutorial-misconduct claim only if the petitioner
shows that the prosecutor’s conduct “so infected the trial with unfairness as to make the resulting
conviction a denial of due process.” Darden v. Wainwright, 477 U.S. 168, 181 (1986) (quoting
Donnelly v. DeChristoforo, 416 U.S. 637, 643 (1974)). Although a prosecutor may not suggest
that a defendant has the burden of proving his innocence, the prosecutor has “wide latitude” to
“respond to arguments made by defense counsel,” Beam v. Foltz, 832 F.2d 1401, 1407 (6th Cir.
1987) (citation omitted), and to point out that the defense failed to present evidence to support an
argument that it advanced, United States v. Wimbley, 553 F.3d 455, 461-62 (6th Cir. 2009). The
prosecutor here did just that. The Michigan Court of Appeals found—and Bogard does not
dispute—that defense counsel argued at trial “that the items found by the police belonged to
someone other than Bogard.” Bogard, 2018 WL 1936044, at *3. In fact, Bogard advanced that
very argument in his direct appeal brief. Bogard thus has not made a substantial showing that the
Michigan Court of Appeals unreasonably rejected his prosecutorial-misconduct claim. See Parker,
567 U.S. at 48-49.
       III.    Ground 3 — Sufficiency of the Evidence
       In ground three, Bogard argued that there was insufficient evidence to support his
conviction for possessing with intent to deliver fifty grams of cocaine. Evidence is sufficient to
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support a conviction if, “after viewing the evidence in the light most favorable to the prosecution,
any rational trier of fact could have found the essential elements of the crime beyond a reasonable
doubt.” Jackson v. Virginia, 443 U.S. 307, 319 (1979). Under § 2254(d), a district court “must
still defer to [a] state appellate court’s sufficiency determination as long as it is not unreasonable.”
Brown v. Konteh, 567 F.3d 191, 205 (6th Cir. 2009) (emphasis omitted).
       As the Michigan Court of Appeals noted, possessing with intent to deliver less than fifty
grams of cocaine requires the State to prove the following elements: “(1) that the recovered
substance is cocaine, (2) that the cocaine is in a mixture weighing less than fifty grams, (3) that
defendant was not authorized to possess the substance, and (4) that defendant knowingly possessed
the cocaine with intent to deliver.” Bogard, 2018 WL 1936044, at *3 (quoting People v. Wolfe,
489 N.W.2d 748, 752 (Mich. 1992)). Bogard challenged the evidence for the fourth element only.
       According to the Michigan Court of Appeals, the trial evidence showed that officers found
1.66 grams of cocaine in Brown’s basement on top of a firearm. Bogard, 2018 WL 1936044, at
*1, *3. When police arrived, Bogard—whom two witnesses previously saw holding a firearm—
was inside Brown’s home, walking away from the basement. Id. Bogard also had a large sum of
cash on his person and drug paraphernalia in his car. Id. at *3. The Michigan Court of Appeals
did not unreasonably apply Jackson in holding that this evidence would allow a rational jury to
infer Bogard’s intent to distribute the drugs. See Cavazos v. Smith, 565 U.S. 1, 2 (2011) (per
curiam).
       IV.     Ground 4 — Unreasonable Sentence
       In ground four, Bogard argued that his minimum sentence is unreasonable and
disproportionate. Specifically, he argued that his 96-month minimum sentence for being a felon
in possession of a firearm—an upward departure from the 14-to-58-month guideline range—was
unreasonable and that the trial court failed to offer an adequate justification for the departure. His
argument faces two problems.
       Problem one: procedure. Reasonable jurists could not debate the district court’s conclusion
that, to the extent Bogard alleged that his sentence violated state law, his claim was not cognizable
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on federal habeas review. See Estelle, 502 U.S. at 67-68; Kissner v. Palmer, 826 F.3d 898, 902
(6th Cir. 2016). True, state prisoners might be able to raise due-process claims if they show that a
sentencing judge relied on materially false information when calculating their sentences. See
Roberts v. United States, 445 U.S. 552, 556-57 (1980). But Bogard did not identify any allegedly
false information cited by the sentencing court.
       Problem two: substance.         The Eighth Amendment prevents “cruel and unusual
punishments[.]” U.S. Const. amend. VIII. The Supreme Court has interpreted this provision to
“forbid[] only extreme sentences that are ‘grossly disproportionate’ to the crime.” Harmelin v.
Michigan, 501 U.S. 957, 1001 (1991) (Kennedy, J., concurring) (quoting Solem v. Helm, 463 U.S.
277, 288 (1983)). Because the contours of this “gross disproportionality principle . . . are unclear,”
the principle is “applicable only in the ‘exceedingly rare’ and ‘extreme’ case.” Lockyer v. Andrade,
538 U.S. 63, 73 (2003) (quoting Harmelin, 501 U.S. at 1001 (Kennedy, J., concurring)). And a
state court must unreasonably apply these general principles for a state prisoner to be entitled to
relief under § 2254(d). See id. at 75-77.
       The Michigan Court of Appeals could conclude that Bogard’s facts do not present such an
extreme case. A first offense for possessing a firearm as a convicted felon is punishable by up to
five years’ imprisonment. Mich. Comp. Laws § 750.224f. Because Bogard was a fourth habitual
offender, the statutory maximum penalty increased to life in prison.            Mich. Comp. Laws
§ 769.12(b). Reasonable jurists could not debate the district court’s conclusion that Bogard’s
sentence of eight to sixty years—within the enhanced statutory range—was not grossly
disproportionate to his crime where Bogard has twenty-seven prior convictions, seven of which
were felonies; was on parole when he committed the instant offense; and had “repeated probation
and parole violations and escapes.” See Bogard, 2018 WL 1936044, at *4.
       V.      Ground 5 — Ineffective Assistance of Counsel
       In ground five, Bogard argued that trial counsel performed ineffectively by failing to
(1) adequately prepare for trial; (2) file a notice to preserve a defense; (3) move to suppress
illegally seized evidence; (4) file pretrial motions; and (5) move for a new trial.
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       To succeed on an ineffective-assistance claim, a petitioner must show both that counsel’s
performance fell below an objective standard of reasonableness and that “there is a reasonable
probability that, but for counsel’s unprofessional errors, the result of the proceeding would have
been different.” Strickland v. Washington, 466 U.S. 668, 688, 694 (1984). And the petitioner
must show that the state court’s resolution of this claim was unreasonable under § 2254(d). “The
standards created by Strickland and § 2254(d) are both ‘highly deferential,’ and when the two
apply in tandem, review is ‘doubly’ so.” Harrington, 562 U.S. at 105 (citations omitted).
       In this case, reasonable jurists would agree that Bogard failed to make a substantial
showing of either deficient performance or prejudice with respect to any of his ineffective-
assistance claims. Indeed, he provided no factual allegations in support of those claims. Bogard
did not identify any specific action that counsel allegedly failed to take in preparing for trial, nor
did he identify the defense theory that counsel failed to pursue or the specific pretrial motions that
counsel should have filed. He also did not provide any facts to suggest that a motion to suppress
or a motion for a new trial would have been meritorious.
       VI.     Motion to Stay
       After he filed his habeas petition, Bogard moved to stay his habeas proceeding and hold it
in abeyance while he returned to state court. In state court, he would argue that trial counsel
performed ineffectively by failing to call eyewitness Frances Perez, who would have challenged
Brown’s credibility. Bogard attached to his motion affidavits from Perez and himself. The district
court denied the motion, finding that Bogard’s proposed claim would not relate back to the filing
of his original habeas petition and would, therefore, be untimely even if he were permitted to
exhaust his state-court remedies. Alternatively, the district court found that Bogard failed to show
good cause for staying his habeas proceeding. Reasonable jurists could not debate the district
court’s conclusion that Bogard failed to show good cause.            “[S]tay and abeyance is only
appropriate when the district court determines there was good cause for the petitioner’s failure to
exhaust his claims first in state court.” Rhines v. Weber, 544 U.S. 269, 277 (2005). From the facts
alleged in both Perez’s and Bogard’s affidavits, it is clear that Bogard was aware of Perez’s
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availability and willingness to testify and the nature of her potential testimony at the time of his
trial. Bogard failed to provide an adequate justification for failing to previously exhaust this claim
in state court.
        Accordingly, this court DENIES Bogard’s application for a COA.


                                               ENTERED BY ORDER OF THE COURT




                                               Deborah S. Hunt, Clerk
